                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                    )   Chapter 11
                                                          )
Squirrels Research Labs LLC1                              )   Case No. 21-61491
                                                          )   (Request for Joint Administration Pending)
                          Debtors.                        )
                                                          )   Judge Russ Kendig


     MOTION FOR AN ORDER (A)(I) ESTABLISHING AND APPROVING BID
PROCEDURES RELATED TO THE SALE OF CERTAIN OF THE DEBTORS’ ASSETS
    PURSUANT TO 11 U.S.C. §§ 105(A), INCLUDING THE DESIGNATION OF A
STALKING HORSE BIDDER AND RELATED BID PROTECTIONS; (II) APPROVING
 CONTRACT/LEASE ASSUMPTION AND ASSIGNMENT PROCEDURES AND THE
    FORM AND NOTICE THEREOF; (III) SCHEDULING THE AUCTION; (IV)
SCHEDULING A HEARING AND OBJECTION DEADLINE WITH RESPECT TO THE
SALE; (V) APPROVING THE FORM AND NOTICE THEREOF; AND (VI) GRANTING
 RELATED RELIEF; AND (B)(I) AUTHORIZING SALE OF CERTAIN OF DEBTORS’
     ASSETS FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES AND
   INTERESTS PURSUANT TO 11 U.S.C. §§ 105 AND 363; AND (II) APPROVING
     ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
          UNEXPIRED LEASES; AND (C) GRANTING RELATED RELIEF


         Squirrels Research Labs LLC (“SQRL”) and The Midwest Data Company LLC

(“MWDC,” and collectively with SQRL, the “Debtors”), the debtors and debtors-in-possession

in the above-captioned in the above-captioned Chapter 11 case, submit this motion (the “Motion”)

pursuant to sections 105, 363 and 365 of Title 11 of the United States Code (the “Bankruptcy

Code”) and rules 2002, 6004 and 9006 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) for an Order: (A)(I) establishing and approving bid procedures to be used

in connection with the proposed sale of the Debtors’ assets to Instantiation LLC and/or its assigns

(the “Stalking Horse Bidder”), subject to higher and better offers, pursuant to 11 U.S.C. §§ 105(A),


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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363, and 365 and including the terms of the proposed purchase agreement substantially in the form

attached hereto as Exhibit B (the “APA”); (II) approving contract/lease assumption and

assignment procedures and the form and notice thereof; (III) approving Bid Protections (as defined

herein) for the Stalking Horse Bidder; (IV) scheduling the auction; (V) scheduling a hearing and

objection deadline with respect to the sale; (VI) approving the form and notice thereof; and (VII)

granting related relief; and (B)(I) authorizing sale of certain of the Debtors’ assets free and clear

of liens, claims, encumbrances, and interests pursuant to 11 U.S.C. §§ 105 and 363; and (II)

approving assumption and assignment of executory contracts and unexpired leases; and (C)

granting related relief. In support of this Motion, the Debtors respectfully state as follows:

                                 JURISDICTION AND VENUE

       1.    The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.    The basis for the relief requested herein is sections 105, 363 and 365 of the

Bankruptcy Code and Rules 2002, 6004 and 9006 of the Bankruptcy Rules.

                                         BACKGROUND

       4.    On November 23, 2021, the Debtors filed voluntary petitions for relief under

subchapter v of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

       5.    The Debtors are operating their businesses as debtors and debtors-in-possession

pursuant to 11 USC § 1108 and 1184. A request for joint administration of the cases is pending

with the Court. No trustee or examiner has been appointed in these cases.




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       6.    SQRL, is a limited liability company organized under the laws of the State of Ohio

and is located in Canton, Ohio. MWDC is a limited liability company organized under the laws of

the State of Ohio and is located in Canton, Ohio.

              Summary of Capital Structure and Current Business Operations

       7.    Prior to the Petition Date, SQRL executed and delivered to Avnet: (i) a promissory

note in the original principal amount of $4,621,092.50 dated March 26, 2019 (the "Initial Note")

and (ii) a Security Agreement dated as of March 20, 2019 granting a lien in the collateral described

therein in favor of Avnet to secure payment of amounts invoiced by Avnet (the "Security

Agreement")

       8.    The Initial Note was amended and restated pursuant to a promissory note executed

by SQRL and delivered to Avnet dated April 8, 2021 in the original principal amount of

$7,864,779.76 (the "Amended and Restated Note"), which Amended and Restated Note is

secured by the lien granted by the Security Agreement.

       9.    As of November 22, 2021, SQRL remained obligated to Avnet in the principal

amount of $7,864,779.76 plus accrued and accruing interest, fees, costs, and other charges

(including attorneys’ fees and costs) (the “Avnet Claim”), as set forth in the Account Settlement

and Sale Support Agreement (the “Support Agreement”) by and between Avnet, the Debtors,

and Instantiation, LLC.

       10.   Prior to the Petition Date, as set forth in the Asset Purchase Agreement dated as of

November 23, 2021 with Instantiation LLC (the “APA”), the Debtors received an offer for the

proposed purchase and sale of the Debtors’ assets identified and described therein, including

SQRL assets subject to the liens, claims and encumbrances of Avnet (collectively, the "Avnet

Lien") pursuant to the Security Agreement (such assets, the "Avnet Collateral").



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       11.   Pursuant to the Support Agreement, the parties thereto expressed their mutual support

and commitment with respect to, inter alia, a value-maximizing sale of the SQRL and MWDC

assets described and set forth in the APA, including the Avnet Collateral, as set forth upon the

terms and conditions described in the Support Agreement (such transaction, the "Sale

Transaction") and reached the Avnet Settlement (as defined in the Support Agreement), which,

as more fully described in the Support Agreement, reduced the Avnet Claim to $5,751,000 and

determined the amount of the Avnet Claim, pursuant to section 506 of the Bankruptcy Code, to

be a secured claim in the amount of $3,000,000.00 (the “Avnet Secured Claim”).

                                           Sale of Assets

       12.   Debtors believe that a sale of their assets pursuant sections 105(a) and 363 of the

Bankruptcy Code will result in the maximum possible value for their assets and have determined

that Instantiation, LLC should be the Stalking Horse Bidder in that pursuit. The sale to the Stalking

Horse Bidder is subject to receipt of higher and better offers and an auction.

       13.   Accordingly, the Debtors now seeks the Court’s approval to sell the Assets free and

clear of all liens, claims, encumbrances and interests pursuant to sections 105(a) and 363 of the

Bankruptcy Code. The Debtors further seek approval of certain bid procedures, the designation of

Instantiation as the Stalking Horse Bidder, and a procedure for the assumption and assignment of

executory contracts and unexpired leases in connection with such sale.

                                     RELIEF REQUESTED

       14.   The Debtors seeks entry of an order, substantially in the form attached hereto as

EXHIBIT A (the “Bidding Procedures Order”):

             a. Authorizing and approving the proposed bidding procedures attached as

                 EXHIBIT 1 to the Bidding Procedures Order (the “Bidding Procedures”) by



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                 which the Debtors will conduct a sale of the Assets under section 363 of the

                 Bankruptcy Code;

             b. Approving the Bid Protections (as defined below) to be provided to the Stalking

                 Horse Bidder for the Assets;

             c. Establishing procedure for the assumption and assignment of executory contracts

                 and unexpired leases, including notice of proposed cure amounts (the

                 “Assumption and Assignment Procedures”) attached as EXHIBIT 3 to the

                 Bidding Procedures Order (the “Cure Notice”);

             d. Scheduling an auction in connection with the Sale Transaction (the “Auction”) to

                 take place on January 3, 2022;

             e. Scheduling a hearing on January 11, 2022 (the “Sale Hearing”), and scheduling

                 an objection deadline of January 10, 2022 (the “Sale Objection Deadline”);

             f. Approving the form and manner of notice of the Auction and Sale Transaction,

                 attached as EXHIBIT 2 to the Bidding Procedures Order (the “Auction and Sale

                 Notice”); and

             g. Granting related relief.

       15.   The Debtors request that the Bidding Procedures Order establish certain dates and

deadlines as set forth herein, subject to extension or modifications by the Debtors, as set forth in

the Bidding Procedures.

       16.   Additionally, by this Motion the Debtors seek, following the conclusion of the Sale

Hearing, entry of an order (a “Sale Order”) by no later than January 11, 2022 (a) authorizing (i)

the sale of the Assets free and clear of all liens, claims, interests, and encumbrances, other than




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those expressly assumed and (ii) the assumption and assignment of certain executory contracts and

unexpired leases, and (b) granting related relief.

       A. Bidding Procedures

       17.    The Bidding Procedures include comments from Avnet and certain of the key terms

of the Bidding Procedures are summarized in the chart below:


                         MATERIAL TERMS OF THE PROCEDURES

                                  Participation and Due Diligence

 Identification of Potential Competing Bidders Debtors shall distribute the notice of the sale,
 and Confidentiality Agreement                 these Bidding Procedures, a copy of the
                                               Stalking Horse Bidder’s Asset Purchase
                                               Agreement (“APA”), and a form or
                                               confidentiality agreement (a “Confidentiality
                                               Agreement”) to those parties Debtors
                                               determine may have or demonstrate an interest
                                               in purchasing the Assets.




 Due Diligence                                           After a party delivers the executed
                                                         Confidentiality Agreement in accordance with
                                                         the Bidding Procedures, the party shall receive
                                                         access to the data room and due diligence
                                                         information, as reasonably requested by such
                                                         party, and all written due diligence provided to
                                                         any such party shall be available in the data
                                                         room.



                            Stalking Horse Bidder and Bid Protections

 Stalking Horse Bidder                                   The Debtors have received from Instantiation,
                                                         LLC a bid (the “Stalking Horse Bid”) to
                                                         purchase their assets, as set forth in APA, and
                                                         have selected Instantiation, LLC to act as
                                                         Stalking Horse Bidder, and have agreed,
                                                         subject to Court approval, to certain
                                                         protections consisting of: an amount in cash

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                                                    equal to the sum of (a) 3.0% of the Purchase
                                                    Price plus (b) all of the Purchaser’s
                                                    documented out-of-pocket costs and expenses
                                                    (including legal fees) incurred in connection
                                                    with the transactions contemplated by this
                                                    Agreement, up to a maximum amount of
                                                    $200,000 (collectively, the “Break-Up Fee”)
                                                    (the “Bid Protections”).

 Stalking Horse Bid Protections                     In connection with the Stalking Horse Bid, the
                                                    Debtor shall be authorized to provide the Bid
                                                    Protections.

                                COMPETING BID DEADLINES

 Each party that submits, at least five (5) days prior to the Bid Deadline an executed
 Confidentiality Agreement and reasonable evidence demonstrating the party’s financial
 capability to consummate a Sale as reasonably determined by the Debtors shall be an “Eligible
 Competing Bidder.” Avnet is an Eligible Competing Bidder as set forth in section 3.D of the
 Bidding Procedures.

 Any Eligible Competing Bidder that desires to make a binding offer (each, a “Competing Bid”)
 shall transmit the Competing Bid to the Debtors so as to be actually received on or before 5 p.m.
 PST thirty days after the entry of the Bidding Procedures Order (the “Bid Deadline”).

 The Bid Deadline may be extended by the Debtors, in consultation with Avnet and the Stalking
 Horse Bidder.

                                  Competing Bid Requirements

 All Competing Bids must be submitted in writing and satisfy the requirements as fully set forth
 in the Bidding Procedures (collectively, the “Bid Requirements”), and use the APA as a
 template, clearly marked to show changes from the APA, which include the following key
 requirements:

 Purchase Price                                     Each Competing Bid must clearly set forth the
                                                    purchase price to be paid, specifying (i) any
                                                    cash and (ii) any non-cash components, in
                                                    sufficient detail satisfactory to the Debtor (the
                                                    “Purchase Price”) and have value to the
                                                    bankruptcy estate that is greater than the sum
                                                    of value offered under the APA, plus (1) the
                                                    amount of the Break-Up Fee, (2) the DIP
                                                    Loans, and (3) Fifty Thousand Dollars
                                                    ($50,000) (the “Bidding Increment”). For
                                                    clarity’s sake, each Competing Bid must offer
                                                    a cash component greater than the total of

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                                             $3,010,000, the break-up fee, the outstanding
                                             DIP Loans, and the Bidding Increment. A
                                             qualified competing bid must therefore exceed
                                             three million sixty thousand dollars
                                             ($3,060,000) plus the outstanding amount of
                                             the DIP Loan and the Break-Up Fee (the
                                             “Opening Bid”), plus the value of Assumed
                                             Liabilities under the APA, and otherwise meet
                                             the financing and other requirements set forth
                                             herein (such bid, a “Qualified Competing
                                             Bid”).

                                             Each Competing Bid for a combination of
                                             Assets, other than for the same combination set
                                             forth in the APA, must: (a) provide for a
                                             breakdown of the share of the Purchase Price
                                             allocable to each of the Assets included in the
                                             Bid; (b) state whether the Bid is conditioned on
                                             being the Winning Bid for any of the other
                                             Assets included in the Bid (and if so, clearly
                                             identify which Assets); and (c) state whether
                                             the Eligible Competing Bidder is willing to
                                             purchase any of the Assets included in the Bid
                                             individually, and if so, the price such Eligible
                                             Competing Bidder would pay for each such
                                             Asset.
 Deposit                                     Each Competing Bid must be accompanied by
                                             a good faith deposit in the amount of One
                                             Hundred Fifty Thousand Dollars ($150,000) as
                                             a nonrefundable deposit (in the event the
                                             Competing Bid is selected as the Winning Bid
                                             (defined below)).

 Committed Financing                         Each Competing Bid must contain a
                                             representation that the bidder has the financial
                                             ability to perform and provide evidentiary
                                             documentation demonstrating such financial
                                             ability to close (e.g., financial statements and
                                             bank statements that show available cash
                                             necessary to close the transaction) that are
                                             satisfactory to the Sellers in its reasonable
                                             discretion.

                                             Each Competing Bid must contain a
                                             representation that bidder shall be able to close
                                             the transaction no later than fifteen (15)


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                                                calendar days after entry of the Sale Order.

 No Financing or Diligence Outs                 A Competing Bid shall not be conditioned on
                                                the obtaining or sufficiency of financing or any
                                                internal approval, or on the outcome or review
                                                of due diligence, or on the receipt of any
                                                regulatory third party approvals, but may be
                                                subject to the accuracy at the closing of
                                                specified representations and warranties or the
                                                satisfaction at the closing of specified
                                                conditions, which representations and
                                                warranties shall be similar, and in any event,
                                                not more expansive, than the representations
                                                and warranties set forth in the APA.

                                                Each Competing Bid must contain a
                                                representation that the bidder is duly
                                                authorized to submit the bid and close the
                                                transaction and has already obtained all
                                                necessary approvals (e.g., board approvals),
                                                plus, if requested by Sellers, supporting
                                                documents satisfactory to Sellers in its
                                                reasonable discretion;

 Assumed Liabilities                            Each Competing Bid must identify the
                                                Debtors’ liabilities, if any, that each Eligible
                                                Competing Bidder seeks to assume.

 Adequate Assurance of Future Performance       Each Competing Bid must: (i) identify any and
                                                all executory contracts and unexpired leases to
                                                be assumed and assigned in connection with
                                                such Bid; (ii) demonstrate, in the Debtors’
                                                reasonable business judgment, that the Eligible
                                                Competing Bidder can provide adequate
                                                assurance of future performance under all such
                                                executory contracts and unexpired leases.

 As-Is, Where-Is                                Each Competing Bid must include a written
                                                acknowledgment and representation that the
                                                Eligible Competing Bidder: (1) has had an
                                                opportunity to conduct any and all due
                                                diligence regarding the Assets prior to making
                                                its offer; (2) has relied solely upon its own
                                                independent review, investigation, and/or
                                                inspection of documents and the Assets in
                                                making its Bid; and (3) did not rely upon any
                                                written or oral statements, representations,

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                                           promises,     warranties,    or     guaranties
                                           whatsoever, whether express, implied by
                                           operation of law, or otherwise, regarding the
                                           Assets or the completeness of any information
                                           provided in connection therewith or the
                                           Auction, except as expressly stated in the
                                           Bidding Procedures and in the representations
                                           and warranties contained in the Sale
                                           Documents submitted as a part of the Bid (as
                                           modified before acceptance and execution by
                                           the Debtors) and disclaims reliance on any
                                           such     written    or    oral     statements,
                                           representations, promises, warranties, or
                                           guaranties.

 Honoring the Bidding Procedures           Each Competing Bid must affirmatively state
                                           agreement, and by submitting its Competing
                                           Bid, each Eligible Competing Bidder is so
                                           agreeing, to abide by and honor the terms of
                                           the Bidding Procedures (including if such
                                           Competing Bid is declared the Successful
                                           Bidder or Backup Bidder (as defined below))
                                           and to refrain from submitting a Competing
                                           Bid or seeking to reopen the Auction after
                                           conclusion of the Auction. The submission of
                                           a Competing Bid shall constitute a binding and
                                           irrevocable offer to purchase the Assets. Each
                                           Competing Bid must state that the Eligible
                                           Competing Bidder consents to the jurisdiction
                                           of the Court and to the entry of a final
                                           judgment or order with respect to the
                                           Competing Bid, as well as with respect to any
                                           aspect of these Bidding Procedures, and all
                                           orders of the Court entered with respect to the
                                           Sale.

 Additional Diligence                      Each Eligible Competing Bidder shall comply
                                           with all reasonable requests for additional
                                           information and due diligence access by
                                           Debtors or its advisors regarding the
                                           Competing Bid.

 Expenses                                  Each Competing Bid, except for the Stalking
                                           Horse Bid, shall not contemplate or request
                                           (and no Eligible Competing Bidder) any break-
                                           up fee, transaction fee, termination fee,
                                           expense reimbursement, or any similar type of

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                                             payment or reimbursement, and by submitting
                                             its Competing Bid, each Eligible Competing
                                             Bidder is agreeing to refrain from and waive
                                             any assertion or request for reimbursement on
                                             any basis, including under section 503(b) of
                                             the Bankruptcy Code.

                        Designation of Qualified Competing Bidder

 Qualified Bidder                            A Bid will be considered a “Qualified
                                             Competing Bid” and each Eligible Competing
                                             Bidder that submits a Qualified Competing Bid
                                             will be considered a “Qualified Competing
                                             Bidder,” if the Debtors determine in their
                                             reasonable business judgment, in consultation
                                             with Avnet, that such Bid: (i) satisfies the Bid
                                             Requirements; and (ii) is reasonably likely
                                             (based on availability of financing, experience,
                                             and other considerations) to be consummated,
                                             if selected as the Winning Bid, within a time
                                             frame reasonably acceptable to the Debtors.

 Notification                                No later than two business days after the Bid
                                             Deadline, the Debtors will notify each Eligible
                                             Competing Bidder whether such party is a
                                             Qualified Competing Bidder.

 Bid Modification                            Between the date that Debtor notifies a Bidder
                                             hat it is a Qualified Competing Bidder and the
                                             Auction: (i) the Debtors may discuss,
                                             negotiate, or seek clarification of any Qualified
                                             Competing Bid from a Qualified Bidder; and
                                             (ii) a Qualified Bidder may not, without the
                                             prior written consent of the Debtor modify,
                                             amend, or withdraw its Qualified Competing
                                             Bid, except for proposed amendments to
                                             increase their Purchase Price, or otherwise
                                             improve the terms of, the Qualified Bid,
                                             provided that any improved Qualified Bid
                                             must continue to comply with the requirements
                                             for Qualified Competing Bids set forth in the
                                             Bidding Procedures.




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                                 Bid Selection and Criterion

 Opening Bid                                   Not later than one business day before the
                                               Auction, Debtors will notify all Qualified
                                               Competing Bidders, and the Stalking Horse
                                               Bidder, of the Opening Bid, such bid being the
                                               highest or otherwise best Qualified Competing
                                               Bid with respect to the Debtors’ Assets, which
                                               Qualified Bid may be the Stalking Horse Bid
                                               and the Debtors shall provide copies of the
                                               documents supporting the Opening Bid to all
                                               Qualified Bidders (defined below).

 Bid Assessment Criteria                       The determination of which Qualified Bid
                                               constitutes the Opening Bid and, ultimately,
                                               the Winning Bid shall take into account any
                                               factors the Debtors, in consultation with
                                               Avnet, reasonably deems relevant to the value
                                               of the Qualified Bid to the Debtors’ estates,
                                               including, among other things: (i) the amount
                                               and nature of the Purchase Price; and (ii) the
                                               Qualified Bidder’s ability to consummate the
                                               Sale and the timing thereof.

 Credit Bids                                   Avnet shall have the right to credit bid for the
                                               Assets without the need to provide a deposit
                                               and Avnet shall be deemed to be an Eligible
                                               Bidder, and shall have the right to credit bid
                                               any portion and up to the entire amount of its
                                               outstanding Reduced Avnet Claim (as defined
                                               in the Support Agreement) pursuant to section
                                               363(k) of the Bankruptcy Code for its
                                               collateral, which credit bid shall be deemed to
                                               be a Qualified Bid (the “Credit Bid Right”),
                                               provided that any such credit bid is submitted
                                               by the Bid Deadline, provided however, that
                                               Avnet waives its rights under section 363(k) of
                                               the Bankruptcy Code to credit bid for the
                                               Assets, provided that a sale of Avnet’s
                                               collateral is pursued and consummated
                                               pursuant to the Bidding Procedures Order and
                                               these Bidding Procedures. Otherwise, Avnet
                                               retains and will retain all of its rights to credit
                                               bid its claims under applicable law.




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                                 The Auction Procedure

 Time and Place                             If there is a Qualified Competing Bid, Debtors
                                            shall hold an auction for the Acquired Assets
                                            (the “Auction”) within five (5) Business Days
                                            of the Bid Deadline, provided, however, if the
                                            fifth (5th) day is not a Business Day, then the
                                            first Business Day following the fifth (5th)
                                            day, and as more fully described in the Bidding
                                            Procedures (the “Auction Date”). The Auction
                                            shall take place on January 3, 2022 at _:__
                                            __.m. [EST/PST]] and will (unless the Debtors
                                            provide      notice    otherwise)    be    held
                                            electronically via video/telephone, or at such
                                            later date, time, or other place as selected by
                                            the Debtors, in consultation with Avnet, and
                                            the Stalking Horse Bidder, or approved by
                                            order of the Court.

                                            If the Debtors do not receive any Qualified
                                            Competing Bids with respect to the Assets,
                                            then the Auction will not be held and Debtors
                                            will seek approval of the Sale to the Stalking
                                            Horse Bidder pursuant to the APA.

 Eligibility                                Only Qualified Competing Bidders that have
                                            submitted Qualified Competing Bids by the
                                            Bid Deadline, Avnet, to the extent it exercises
                                            its Credit Bid rights, and the Stalking Horse
                                            Bidder (together the “Qualified Bidders”) are
                                            eligible to participate in the Auction, subject to
                                            other limitations as may be reasonably
                                            imposed by the Debtors in accordance with the
                                            Bidding Procedures; provided that such other
                                            limitations are (i) not inconsistent with the
                                            Bidding Procedures Order, any other order of
                                            the Bankruptcy Court, or the Bankruptcy
                                            Code, (ii) disclosed orally or in writing to all
                                            Qualified Bidders, and (iii) determined by the
                                            Debtors, in consultation with Avnet, to further
                                            the goals of the Bidding Procedures.

 Attendance                                 Qualified Bidders participating in the Auction
                                            must appear at the Auction, or through a duly
                                            authorized representative, proof of which
                                            authority has been provided to Debtors at least


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                                                 one business day before the Auction.

                                                 The Auction will be conducted openly and all
                                                 creditors and counsel or other professional
                                                 advisors may be permitted to attend. Only
                                                 Qualified Bidders will be permitted to
                                                 participate in the Auction.

 Closing the Auction                             The Auction shall continue until the Debtors,
                                                 in consultation with Avnet, select, the Winning
                                                 Bid. To determine the Winning Bid, the
                                                 Debtors shall evaluate the value to be provided
                                                 under the bids, including the net economic
                                                 effect upon Debtors’ estates, taking into
                                                 account the Break-Up Fee owed to the Stalking
                                                 Horse Bidder and the obligations assumed by
                                                 the Stalking Horse Bidder under the APA.

                                                 Such Bid shall be declared the “Winning Bid”
                                                 and such Bidder, the “Successful Bidder,” and
                                                 at such point, the Auction will be closed.

                                                 As soon as reasonably practicable after closing
                                                 the Auction, the Debtors shall finalize
                                                 definitive documentation to implement the
                                                 terms of the Winning Bid, and, as applicable,
                                                 cause such definitive documentation to be filed
                                                 with the Court. The acceptance by the Debtors
                                                 of the Winning Bid is conditioned upon
                                                 approval by the Court of the Winning Bid.

                                   Terms of Competing Bids

 Any bids made at the Auction by a Qualified Bidder after the announcement of the Opening Bid
 shall be “Overbids” and must comply with the conditions set forth below and shall be made and
 received on an open basis, with all material terms of each Overbid fully disclosed to all other
 Qualified Bidders.



 Minimum Overbid Increment                       Any Overbids must exceed the Opening Bid by
                                                 at least Fifty Thousand Dollars ($50,000).
                                                 Thereafter and continuing until there is only
                                                 one (1) bidder remaining, each bidder must
                                                 increase the subsequent bid in an amount of at
                                                 least Fifty Thousand Dollars ($50,000) to


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                                            remain a bidder in the Auction.

 Announcing Highest Bid                     After each Overbid, the Debtors shall
                                            announce the material terms of the Overbid,
                                            including the value attributed to the Overbid.

                                     Backup Bidder

 Designation of Backup Bidder               If the Stalking Horse Bidder is not the
                                            Successful Bidder at the Auction, the Stalking
                                            Horse Bidder shall be required to serve as a
                                            back-up bidder.

                                            If the Stalking Horse Bidder is the Successful
                                            Bidder at the Auction, then the Qualified
                                            Competing Bidder with the next-highest or
                                            otherwise second-best Qualified Bid at the
                                            Auction for the Assets, as determined by the
                                            Debtors in the exercise of its reasonable
                                            business judgment shall be required to serve as
                                            a Backup Bidder until such time as the
                                            applicable Sale is consummated, and each
                                            Qualified Bidder shall agree and be deemed to
                                            be the Backup Bidder if so designated by the
                                            Debtor.

 Identity of Backup Bidder                  The identity of the Backup Bidder and the
                                            amount and material terms of the Qualified Bid
                                            of the Backup Bidder shall be announced by
                                            the Debtors at the conclusion of the Auction at
                                            the same time the Debtors announce the
                                            identity of the Successful Bidder. The Backup
                                            Bidder shall be required to keep its Qualified
                                            Bid open and irrevocable until such time as the
                                            Sale is consummated.

 Consummating a Sale with Backup Bidder     If a Successful Bidder fails to consummate the
                                            approved Sale contemplated by its Winning
                                            Bid, then the Debtors may select the Backup
                                            Bidder as the Successful Bidder, and such
                                            Backup Bidder shall be deemed a Successful
                                            Bidder for all purposes. The Debtors will be
                                            authorized, but not required, to consummate all
                                            transactions contemplated by the Bid of such
                                            Backup Bidder without further order of the
                                            Court or notice to any party.


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 Sale Hearing                                        The evidentiary hearing to consider approval
                                                     of the Winning Bid (the “Sale Hearing”) will
                                                     be held on or around 10:00 a.m. on January 11,
                                                     2022, or such other date and time as the
                                                     Court’s docket may accommodate. The Sale
                                                     Hearing may be adjourned or rescheduled as
                                                     ordered by the Court, or by the Debtors, but
                                                     without further notice to creditors and parties
                                                     in interest other than by announcement by the
                                                     Debtors of the adjourned date at the Sale
                                                     Hearing.

                                         Return of Deposits

 The Deposits for each Qualified Competing Bidder shall be held in one or more interest-bearing
 escrow accounts on terms acceptable to the Debtors in their sole discretion and shall be returned
 (other than with respect to the Successful Bidder and the Backup Bidder) within three business
 days after the Auction is closed, or as soon as is reasonably practicable thereafter. Upon the
 return of the Deposits, the applicable Qualified Competing Bidders shall receive any interest
 that will have accrued thereon.

 The Deposit of the Successful Bidder shall be applied to the purchase price of such Sale at
 closing. If a Successful Bidder (including a Backup Bidder which becomes a Successful Bidder)
 fails to consummate a proposed transaction because of a breach by such Successful Bidder, the
 Debtors will not have any obligation to return the Deposit deposited by such Successful Bidder,
 which may be retained by the Debtors as liquidated damages, in addition to any rights, remedies,
 or causes of action that may be available to Debtors. If, through no fault of the Successful Bidder,
 the Court does not approve the transaction or the transaction does not close, the Bidder’s Deposit
 shall be returned within three business days thereof, or as soon as is reasonably practicable
 thereafter.


        18.   The Debtors believe that the process created by the Bidding Procedures will provide

them with the flexibility to sell the Assets and to select bids that will result in the highest and best

purchase price for the Assets. Accordingly, the Debtors believe that the approval of the Bidding

Procedures provides the Debtors with the best possibility of maximizing the value of the Assets

for the benefit of creditors. Accordingly, Debtors requests that the Court approve the Bidding

Procedures.




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       B. Stalking Horse Bidders and Bid Protections

       19.   The Debtors request that the Court grant it authority to (i) select Instantiation LLC as

Stalking Horse Bidder and to enter into the APA with such Stalking Horse Bidder, and (ii) in

connection with the APA with the Stalking Horse Bidder, provide the Bid Protections consisting

of: to the sum of (a) 3.0% of the Purchase Price plus (b) all of the Purchaser’s documented out-of-

pocket costs and expenses (including legal fees) incurred in connection with the transactions

contemplated by this Agreement, up to a maximum amount of $200,000 (collectively, the “Break-

Up Fee”).

       C. Timeline and Deadlines

       20.   The Debtors seek approval of the following timeline, subject to modification in

accordance with the Bidding Procedures:

                                            Key Dates

     Date/Time                                           Event

   December 17,       Deadline by which Debtors must file the Cure Notice with the Court and
      2021            serve the Cure Notice on the Contract Counterparties
   December 31,       Deadline by which Bids (as well as Deposits and all other documentation
      2021            required under the Bidding Procedures) must be submitted in accordance
                      with the Bidding Procedures
   December 31,       Deadline by which to file Assigned Contract Objections
       2021
  January 3, 2022     Date on which Auction (if any) shall be held electronically via
                      video/telephone, or at such later date, time, or other place, as selected by
                      Debtors, in consultation with Avnet, and the Stalking Horse Bidder, or
                      approved by order of the Court.
  January 10, 2022    Deadline by which objections to the Sale Transaction must be filed
  January 11, 2022    Date on which the Sale Hearing shall occur, subject to the Court’s
                      availability

                                  Form and Manner of Notice

       21.   The Debtors request approval of 7 days notice of this Motion to establish the Bidding

Procedures and Bid Protections, as set forth more fully in the Debtors’ Motion to Shorten Time to

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Respond To, And Expedite the Hearing on consideration of the Bidding Procedures and Bid

Protections filed contemporaneously with the filing of this Motion. The Debtors further request

that the Court approve the form of Auction and Sale Notice attached as Exhibit 2 to the Bidding

Procedures Order. The Debtors propose that within 3 business days of the entry of the Bidding

Procedures Order, the Debtors shall serve the Auction and Sale Notice and the Bidding Procedures

Order (with the Bidding Procedures attached) upon: (a) the Office of the United States Trustee for

Northern District of Ohio; (b) counsel for Avnet; (c) all creditors and parties in interest, include

the Contract Counterparties; (d) the Internal Revenue Service; (e) government entities, including

the real estate taxing authority; (f) counsel for Instantiation; and (g) all entities known to have

asserted a lien or security interest against the Assets.

        22.   Debtors submit that notice of this Motion and the Auction and Sale Notice constitutes

good and adequate notice of the Auction and Sale and satisfies the requirements of Bankruptcy

Rule 2002. Accordingly, Debtors request the form and manner of the Auction and Sale Notice be

approved and the Court determine no other or further notice is required.

        Summary of Assumption and Assignment Procedures

        23.   The Debtors also request that the Court approve the form of Assumption and

Assignment Notice attached as EXHIBIT 3 to the Bidding Procedures Order. The Debtors propose

the procedures set forth below (the “Assumption and Assignment Procedures”) for notifying the

counterparties to any executory contract or unexpired lease to which a Debtor is a party (the

“Contract Counterparties”) of proposed cure amounts in the event a Debtor decides to assume and

assign such contracts or leases in connection with the Sale.

        24.   On or before December 17, 2021 (the “Assumption and Assignment Service Date”)

the Debtors shall file the Cure Notice with the Court and serve the Cure Notice on the Contract



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Counterparties and shall include as EXHIBIT 3 to the Cure Notice a list (the “Assigned Contracts

Schedule”) that specifies: (a) each of the Debtors’ executory contracts and unexpired leases that

may be assumed and assigned in connection with the Sale, including the name of the Contract

Counterparty to each such contract; (b) the proposed amount necessary, if any, to cure all monetary

defaults, if any, under each Assigned Contract (the “Cure Costs”); (c) any proposed adequate

assurance of future performance (the “Adequate Assurance”); and (d) the deadline by which any

Contract Counterparty to a potentially Assigned Contract may file an objection to the proposed

assumption, assignment, cure, and/or adequate assurance and the procedures relating thereto,

provided that the Debtors may supplement the Assigned Contract Schedule by filing and serving

an additional Cure Notice no later than seven days prior to the Sale Objection Deadline.

       25.   A Contract Counterparty listed on a Cure Notice may file an objection (“Assigned

Contract Objection”) only if such objection is to (a) the proposed assumption and assignment of

the applicable Assigned Contract; (b) proposed Cure Costs; and/or (c) the Proposed Adequate

Assurance (collectively, the “Assigned Contract Objection Basis”). All Assigned Contract

Objections must: (i) be in writing; (ii) comply with the applicable provisions of the Bankruptcy

Rules, Local Rules, and any order governing this Chapter 11 case; (iii) state with particularity the

nature of the objection and, if the objection pertains to the Cure Cost or the proposed Adequate

Assurance, state with specificity the amount purportedly required to cure and/or the amount

required for adequate assurance and (iv) be filed by no later than one business day prior to the

Auction.

       26.   If a Contract Counterparty files an Assigned Contract Objection and the Successful

Bidder has designated that it wishes to take assignment of such Assigned Contract, and the parties

have been unable to consensually resolve the dispute prior to the Sale Hearing, then such objection



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will be resolved at the Sale Hearing or such later hearing as may be agreed between the Successful

Bidder and the Contract Counterparty, but such Assigned Contract shall be assumed and assigned

only upon satisfactory resolution of the Assigned Contract Objection, to be determined in the

Successful Bidder’s discretion. If an Assigned Contract Objection is not satisfactorily resolved,

the Successful Bidder may determine that such Assigned Contract should be rejected and not

assigned, in which case the Successful Bidder will not be responsible for any Cure Costs or

Adequate Assurance with respect to such contract.

       27.   If a Contract Counterparty does not file an Assigned Contract Objection: (a) the Cure

Costs and Adequate Assurance, if any, set forth in the Cure Notice shall be controlling,

notwithstanding anything to the contrary in any Assigned Contract or any other document; and (b)

the Contract Counterparty will be deemed to have consented to the assumption and assignment of

the Assigned Contract and the Cure Costs and Adequate Assurance, if any, and will be forever

barred from objecting the assumption and assignment of such Assigned Contract and rights

thereunder, including the Cure Costs and Adequate Assurance, if any, and from asserting any other

claims related to such Assigned Contract against the Debtors or the Successful Bidder.

       28.   The inclusion of an Assigned Contract on the Assigned Contract Schedule will not:

(a) obligate the Debtors to assume any Assigned Contract listed thereon or obligate the Successful

Bidder to take assignment of such Assigned Contract; or (b) constitute any admission or agreement

of Debtors that such Assigned Contract is an executory contract or unexpired lease. Only those

Assigned Contracts that are included on a schedule of assumed and assigned contracts attached to

the definitive sale agreement with the Successful Bidder (including amendments or modifications

to such schedules in accordance with such agreement) will be assumed and assigned to the

Successful Bidder.



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                               BASIS FOR RELIEF REQUESTED

        A. Bidding Procedures are in the Best Interests of the Debtors’ Estates and Should
           be Approved

        29.   Adoption of bidding procedures is a valid exercise of a debtor’s business judgment.

Debtors submit that the proposed Bidding Procedures are reasonable under the facts and

circumstances of this case and are a valid exercise of the Debtors’ business judgment. Through the

use of such Bidding Procedures, and the additional marketing period that will occur between the

hearing on the Bidding Procedures and the Bid Deadline, the Debtors believe they will be able to

maximize the value of the Assets and obtain the highest and best price possible.

        30. Debtors believe that the process created by the Bidding Procedures will provide it with

the flexibility to select Bids from a final set of Qualified Bidders. Accordingly, the Debtors believe

that the approval of the Bidding Procedures provides the Debtors with the best possibility of

maximizing the value of the Assets for the benefit of creditors, and, accordingly, requests that the

Court approve the Bidding Procedures.

        B. Stalking Horse Bid Protections is a Sound Exercise of Debtors’ Business
           Judgment and Should be Approved

        31.   In order to induce the Stalking Horse Bidder to expend the time, energy and resources

necessary to submit a stalking horse bid, the Debtors have agreed, subject to Court approval, to

provide Bid Protections (as defined herein). Courts within the Sixth Circuit have approved

agreements to compensate "stalking horse bidders" when they are successfully overbid by other parties

in connection with substantial asset sales in bankruptcy. These agreements, which may provide for

break-up fees, topping fees, or reimbursement of expenses, are warranted to compensate an

unsuccessful purchaser whose initial offer served as the basis and catalyst for higher or better offers.

See, e.g., In re Hupp Industries, Inc., 140 B.R. 191, 195 (Bankr. N.D. Ohio 1992). The court in Hupp



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Industries identified a number of factors in determining whether to authorize compensation for the

initial bidder, including:

                        whether the fee requested correlates with a maximization of value to the
                         debtor's estate;

                        whether the fee is part of an arms-length transaction between the debtor's
                         estate and the purchaser;

                        whether the subject-break-up fee constitutes a fair and reasonable percentage
                         of the proposed purchase price;

                        whether the dollar amount of the break-up fee is so substantial that it
                         provided a "chilling effect" on other potential bidders; and

                        the existence of available safeguards beneficial to the debtor's estate.

        32.   The Bid Protections has been determined to correlate with the maximization of the value

of the Assets. There is a limited circumstance under which the Bid Protections is payable, as set forth

more fully in the APA attached hereto. The Debtors therefore state that the Court should grant the

Debtors the authority to incur and pay the Break-Up Fee in their discretion as a valid exercise of the

Debtor’s business judgment.

        C. Form and Manner of Notice Should be Approved

        33.   Pursuant to Rule 2002(a)(2) of the Bankruptcy Rules, the Debtors shall provide to all

creditors 21 days’ notice of “a proposed use, sale, or lease of property of the estate other than in

the ordinary course of business, unless the court for cause shown shortens the time or directs

another method of giving notice.” Fed. R. Bankr. P. 2002(a)(2).

        34.   Furthermore, Rule 2002(c)(1) of the Bankruptcy Rules requires that the notice of a

sale of estate property include the time and place of any public sale, the terms and conditions of

any private sale, the time fixed for filing objections and a general description of the property to be

sold. The Debtors submit that service of this Motion, the Auction and Sale Notice and any later

filed notice to the parties identified above satisfies this requirement .

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        D. Assumption and Assignment Procedures Should be Approved

        35.   To facilitate and effectuate the Sale, the Debtors are also seeking approval of the

Assumption and Assignment Procedures.

        36.   The Assumption and Assignment Procedures are reasonable and necessary to properly

notify parties of potential assumptions and/or assignments and provide the contract and lease

counterparties with sufficient time to determine the accuracy of the proposed cure amount and whether

the Debtors have provided adequate assurance of future performance.

        37.   The Debtors will demonstrate at the Sale Hearing that the requirements for assumption

and assignment of the Assigned Contracts to the Successful Bidder will be satisfied. As required by

the Bidding Procedures, the Debtors will evaluate the financial ability of potential bidders before

designating such party a Qualified Bidder or Successful Bidder. Further, the Assumption and

Assignment Procedures provide the Court and other interested parties ample opportunity to evaluate

and, if necessary, challenge the ability of the Successful Bidder to provide adequate assurance of future

performance and object to the assumption of the Assigned Contracts or proposed cure amounts.

        38.   Accordingly, the Debtors submit that the Assumption and Assignment Procedures should

be approved as reasonable and necessary measures to adequately notify parties in interest and conduct

the proposed sale process in a fair and efficient manner.

        E. Debtors May Sell the Assets Free and Clear of Liens, Claims, Encumbrances and
           Interests Pursuant to Section 363(f) of the Bankruptcy Code

        39.   Debtor, SQRL, has concluded that a sale of its Assets is necessary in order to satisfy

its secured obligations.

        40.   In connection with this Motion, the Debtors requests that the Court find and conclude

that the Debtors have acted with valid business justification and in good faith, in determining to

sell the Assets, within the meaning of Bankruptcy Code Section 363(m), that notice of the sale will

be sufficient, and that the relief requested is in the best interests of the Debtors’ estates.

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       41.   Section 363(f) of the Bankruptcy Code permits debtors to sell assets free and clear of

liens, claims, encumbrances and interests with any such encumbrances attaching to the net

proceeds of the sale. Section 363(f) provides:

             The trustee may sell property under subsections (b) or (c) of this section free and

       clear of any interest in such property of any entity other than the estate, only if –

                       (1) applicable nonbankruptcy law permits sale of such property free and
                           clear of such interest;

                       (2) such entity consents

                       (3) such interest is a lien and the price at which property is to be sold is
                           greater than the aggregate value of all liens on such property;

                       (4) such interest is in bona fide dispute; or

                       (5) such entity could be compelled, in a legal or equitable proceeding, to
                           accept a money satisfaction of such interest.

Bankruptcy courts may enter orders authorizing the sale of a debtor’s assets free and clear of any

liens, claims, encumbrances or interests that are binding against any such lien or interest holders

pursuant to Section 105 of the Bankruptcy Code. See In re White Motor Credit Corp., 75 B.R.

944, 948 (Bankr. N.D. Ohio 1987) (“Authority to conduct such sales [free and clear of liens] is

within the Court’s equitable powers when necessary to carry out the provisions of Title 11”).

       42.    As set forth above, Avnet holds the first lien on the Avnet Collateral. Avnet, through

the Support Agreement, agreed to the terms on which a sale of the Assets, including the Avnet

Collateral, would take place. The Debtors therefore propose to go forward with the marketing and

sale of the Assets consistent with the terms of the Order and in the manner which brings the highest

value. Avnet shall be entitled to payment in full of the Avnet Secured Claim at closing from the

proceeds of a Sale Transaction, an Alternative Transaction (as defined in the APA), and/or other

liquidation of the Avnet Collateral; to the extent the net sales proceeds exceed the Avnet Secured

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Claim, the excess proceeds shall be held by the Debtors pending further order of the Court.

       43.   The Debtors believes that the marketing and sale of Assets as set forth above, is in

the best interest of its estate, is supported by a sound business purpose, and is justified under

applicable law.

       44.   By selling the Assets, the Debtors will reduce debt and eliminate assets it otherwise

must maintain and insure against loss. The Debtors have concluded that the value of the Debtors’

estates will be maximized through a sale of the Assets. As the set forth in the proposed Bidding

Procedures, the Debtors will seek competing bids for any offer received for the Assets. As noted

above, the bidding process will allow the Debtors to receive a fair price that reflects the market

value of the Assets. Accordingly, the Court should approve the proposed sale of the Assets free

and clear of liens, claims, encumbrances and interests pursuant to Sections 105(a) and 363(f).

       F. Successful Bidder Should be Entitled to Protections of section 363(m) of the
          Bankruptcy Code

       45.   Pursuant to section 363(m) of the Bankruptcy Code, “a ‘good faith purchaser’ is

generally one who purchases assets for value, in good faith, and without knowledge of adverse

claims.” In re Abbott’s Dairies of Pennsylvania, Inc., 788 F.2d at 147; In re Youngstown Steel

Tank Co., 27 B.R. 596, 598 (W.D.Pa. 1983); see also In re Mark Bell Furniture Warehouse, Inc.,

992 F.2d 7, 9 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985); In re

Congoleum Corp., Case No. 03-51524, 2007 WL 1428477, *2 (Bankr. D. N.J. May 11, 2007).

Judicial inquiry regarding “good faith” in the context of section 363(m) of the Bankruptcy Code

focuses on the integrity of the purchaser’s conduct during the course of the sale proceedings. In

re Abbott’s Dairies of Pennsylvania, Inc., 788 F.3d at 147.




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       46. The Debtors will adduce facts at the Sale Hearing on any objection demonstrating that

any bidder who is deemed a Successful Bidder for all or any portion of the Assets has negotiated

at arm’s-length, with all parties represented by their own counsel.

       47. Accordingly, the Sale Order will include a provision that the Successful Bidder for the

Assets, is a “good faith” purchaser within the meaning of section 363(m) of the Bankruptcy Code.

The Debtors believe that providing any Successful Bidder with such protection will ensure that the

maximum price will be received by the Debtors for the Assets and closing of the same will occur

promptly.

       G. Credit Bidding Should be Authorized

       48.   A secured creditor is allowed to “credit bid” the amount of its claim in a sale. Section

363(k) of the Bankruptcy Code provides, in relevant part, that in a sale under section 363 of the

Bankruptcy Code, unless the court for cause orders otherwise, the holder of a claim secured by

property that is the subject of the sale “may bid at such sale, and, if the holder of such claim

purchases such property, such holder may offset such claim against the purchase price of such

property.” 11 U.S.C. § 363(k). Even if a secured creditor is undersecured, as determined in

accordance with section 506(a) of the Bankruptcy Code, section 363(k) allows such secured

creditor to bid the total face value of its claim and does not limit the credit bid to the claim’s

economic value. See Cohen v. KB Mezzanine Fund II, LP (In re Submicron Sys. Corp.), 432 F.3d

448, 459-60 (3d Cir. 2006) (explaining that “[i]t is well settled among district and bankruptcy

courts that creditors can bid the full face value of their secured claims under § 363(k)”).

       49.   Pursuant to the Bidding Procedures, Avnet shall have the right to credit bid for the

Assets without the need to provide a deposit and Avnet shall be deemed to be an Eligible Bidder,

and shall have the right to credit bid any portion and up to the entire amount of its outstanding



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Reduced Avnet Claim (as defined in the Support Agreement) pursuant to section 363(k) of the

Bankruptcy Code for its collateral, which credit bid shall be deemed to be a Qualified Bid (the

“Credit Bid Right”), provided that any such credit bid is submitted by the Bid Deadline, provided

however, that Avnet waives its rights under section 363(k) of the Bankruptcy Code to credit bid

for the Assets, provided that a sale of Avnet’s collateral is pursued and consummated pursuant to

the Bidding Procedures Order and the Bidding Procedures. Otherwise, Avnet retains and will retain

all of its rights to credit bid its claims under applicable law.

        H. Assumption and Assignment of Executory Contracts and Unexpired Leases
           Should be Authorized

        50.   Section 365(a) of the Bankruptcy Code provides that a debtor “subject to the court’s

approval, may assume or reject any executory contract or [unexpired] lease of the debtor.” 11

U.S.C. 365(a).

        51.   Pursuant to section 365(f)(2) of the Bankruptcy Code, a debtor may assign an

executory contract or unexpired lease of nonresidential real property if “adequate assurance of

future performance by the assignee of such contract or lease is provided.” 11 U.S.C. 365(f)(2).

        52.   To the extent necessary, the Debtor will present evidence at the Sale Hearing to show

the financial credibility, willingness and ability of the Successful Bidder to perform under the

Assigned Contracts. Indeed, the Bidding Procedures require that each Qualified Bid identify with

particularity the Debtor’s executory contracts and unexpired leases sought to be assumed and

assigned in connection with the Bid and demonstrate that such bidder can provide adequate

assurance of future performance under all such executory contracts and unexpired leases.

Additionally, the Sale Hearing will afford the Court and other interested parties the opportunity to

evaluate the ability of the Successful Bidder to provide adequate assurance of future performance

under the Assigned Contracts as required under section 365(b)(1)(C) of the Bankruptcy Code.

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Debtor will give notice to all parties to the Assigned Contracts, which notice will include the

amounts the Debtor believe necessary to cure any defaults in accordance with section 365(b) of

the Bankruptcy Code.

         53.   Accordingly, the Debtors request approval of the Debtors’ assumption and

assignment of the Assigned Contracts in connection with the Sale Transaction.

                                    NOTICE OF THIS MOTION

         54.   Notice of this Motion will be given to the following parties or, in lieu thereof, to their

counsel (if known): (a) the United States Trustee, (b) Avnet; (c) all creditors identified in the

Debtors’ schedules of assets and liabilities; (d) all relevant taxing authorities; (e) all parties to

executory contracts and unexpired leases listed in Debtors’ schedules; (f) Instantiation, LLC (g)

the subchapter v trustee appointed in these cases and (h) all other parties who have appeared and

requested notice pursuant to Bankruptcy Rule 2002.

                                          No Prior Requests

         55.   No previous motion for the relief sought herein has been made to this or any other

Court.

                                           CONCLUSION

         WHEREFORE, the Debtors request that the Court enter the Bidding Procedures Order,

substantially in the form attached hereto as Exhibit A and grant such other and further relief as the

Court deems just and proper.




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Dated: November 23, 2021                 Respectfully submitted,

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